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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Carlos Vila,                                                              CASE NUMBER:


                                                        PLAINTIFF(S)
                                                                                      CV 21-05837-ODW(MRWx)
                                   v.
Deadly Doll, Inc.,                                                              ORDER TO STRIKE ELECTRONICALLY
                                                                                      FILED DOCUMENT(S)
                                                     DEFENDANT(S) .


The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply with the Court's
Local Rules, General Orders, and/or Case Management Order, as indicated:

                      10/3/22                    /       40         /           MOTION for Summary Judgment
                  Date Filed                         Doc. No.                              Title of Document
                                                 /                  /
                   Date Filed                        Doc. No.                              Title of Document
     G    Document submitted in the wrong case
     G    Incorrect document is attached to the docket entry
     G    Document linked incorrectly to the wrong document/docket entry, all the documents are attached incorrectly.
     G    Incorrect event selected. Correct event is
     G    Case number is incorrect or missing
     G    Hearing information is missing, incorrect, or not timely
     G    Local Rule 7.1-1 No Certification of Interested Parties and/or no copies
     G    Case is closed
     G    Proposed Document was not submitted as separate attachment
     G    Title page is missing
     G    Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
     G    Local Rule 56-2 Statement of genuine disputes of material fact lacking
     G    Local Rule 7-19.1 Notice to other parties of ex parte application lacking
     G    Local Rule 11-6 Memorandum/brief exceeds 25 pages
     G    Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
     ✔
     G    Other: For the reasons stated in the Notice of Deficiency at ECF No. 41 (failure to file a statement of
                  uncontroverted facts and failure to file a proposed judgment), as well as the failure to comply
                  with LR 7-3.



Dated: October 5, 2022                                                   By:
                                                                               U.S. District Judge / U.S. Magistrate Judge
cc: Assigned District and/or Magistrate Judge

               Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

G-106 (6/12)                               ORDER TO STRIKE ELECTRONICALLY FILED DOCUMENT(S)
